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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JESSICA KARIM, on behalf of herself and
all others similarly situated,

                               Plaintiff,                          No. 24-CV-7462 (RA)

                         v.                                     ORDER OF REFERENCE

THE TEA SPOT, PBC,

                               Defendant.


RONNIE ABRAMS, United States District Judge:

      This action is referred to Magistrate Judge Wang for the following purpose:

      General Pretrial (includes scheduling,                Consent under 28 U.S.C. § 636(c) for all
      discovery, non-dispositive pretrial motions,          purposes (including trial)
      and settlement)
      Specific Non-Dispositive Motion/Dispute:              Consent under 28 U.S.C. § 636(c) for limited
                                                            purpose (e.g., dispositive motion, preliminary
                                                            injunction)
                                                            Purpose:
      If referral is for discovery disputes when the        Habeas Corpus
      District Judge is unavailable, the time period of
      the referral:
 X    Settlement                                            Social Security

      Inquest After Default/Damages Hearing                 Dispositive Motion (i.e., motion requiring a
                                                            Report and Recommendation)
                                                            Particular Motion:

SO ORDERED.

 Dated:         January 17, 2025
                New York, New York
                                                          ________________________________
                                                          Ronnie Abrams
                                                          United States District Judge
